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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
ENERGY FUTURE HOLDINGS CORP., ef al.,' Case No. 14-10979 (CSS)
Debtors. (Jointly Administered)
)
CERTIFICATE OF SERVICE

I, Laura Davis Jones, hereby certify that on the 21st day of March, 2017, I caused
a copy of the following document(s) to be served on the attached service lists in the manner

indicated,

EFIH SECOND LIEN TRUSTEE’S STATEMENT IN SUPPORT OF
MOTION OF ENERGY FUTURE HOLDINGS CORP., ET AL.
FOR ENTRY OF AN ORDER APPROVING THE EFIH SETTLEMENT

/s/ Laura Davis Jones
Laura Davis Jones (Bar No. 2436)

' The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location of the
debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in these
chapter 11 cases, for which joint administration has been granted, a complete list of the debtors and the last four
digits of their federal tax identification numbers is not provided herein. A complete list of such information may be.
obtained on the website of the debtors’ claims and noticing agent at http://www.efhcaseinfo.com.

DOCS_DE:211944,4 23731/001

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Energy Future Holdings Corp. 2002 First
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Document No. 192913

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